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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


BRIAN SMITH, individually                               :    CIVIL ACTION NO.
and on behalf of all others similarly situated,         :    3:18-CV-000135 (SRU)
                                                        :
        Plaintiff,                                      :
                                                        :
vs.                                                     :
                                                        :
LIFEVANTAGE CORPORATION,                                :
DARREN JENSEN, JUSTIN ROSE, and                         :
RYAN GOODWIN,                                           :
                                                        :
        Defendants.                                     :    JULY 23, 2018
                                                        :

  STIPULATION REGARDING MOTIONS TO DISMISS, STRIKE, AND TRANSFER

        Plaintiff Brian Smith (“Plaintiff”) filed the above-styled action (the “Action”) on January

24, 2018. Defendants LifeVantage Corporation, Darren Jensen, Justin Rose, and Ryan Goodwin

(“Defendants”) filed a motion to transfer, a motion to strike, and a motion to dismiss on April 16,

2018.

        Plaintiff has agreed to transfer this Action to the United States District Court for the

District of Utah, Central Division, in Salt Lake City, Utah. Within forty-five days after the

transfer is completed and a new case is open in the District of Utah, Plaintiff will file a First

Amended Complaint, which will not include his First and Second Claims for Violation of 18

U.S.C. §§ 1961(5), 1962(c) and Conspiracy to Violate 18 U.S.C. § 1962(c) in Violation of 18

U.S.C. §§ 1961(5) and 1962(d) (each a “RICO Claim”) or any other type of RICO Claim.

Defendants need not file any pleading or otherwise answer the transferred Complaint until forty-

five days after Plaintiff files the First Amended Complaint. Plaintiff also agrees that he will not

file in this Action any RICO Claim, unless a Court were to sua sponte find that LifeVantage

Corporation is not selling securities in this Action.

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         In exchange for the agreement to transfer and drop the RICO Claims, Defendants agree

that personal jurisdiction and venue are proper in the transferee court in the District of Utah as to

all Defendants and as to a national class of plaintiffs in the United States (preserving all other

defenses, though, including but not limited to class certification defenses).           In addition,

LifeVantage Corporation will not challenge the element of the existence of a security in a Rule

12 motion (assuming Plaintiff’s allegations are similar in Utah as they are in Connecticut), and

LifeVantage Corporation stipulates for the purposes of this Action only that an investment in an

alleged pyramid scheme, if proven a pyramid scheme, is itself a security under the federal

Securities Act of 1933 and Securities Act of 1934.

         Wherefore, the Parties respectfully request that the Court enter an order:

    1.   Directing the Parties to comply with the terms of this Stipulation;

    2. Granting the pending Motion to Transfer (Doc. No. 39) and ordering that this lawsuit be

transferred to the United States District Court for the District of Utah, Central Division, in Salt

Lake City, Utah;

    3. Dismissing the pending Motion to Dismiss (Doc. No. 40) as moot;

    4. Dismissing the pending Motion to Strike (Doc. No. 38) as moot;

    5. Directing Plaintiff to file an Amended Complaint, which meets with the requirements of

this Stipulation, within 45 days of the District of Utah opening the transferred case; and

    6. Directing that Defendants need not file any pleading or otherwise answer the transferred

Complaint until forty-five days after Plaintiff files the First Amended Complaint.




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        DATED: July 23, 2018


                                        Respectfully submitted,

                                        PLAINTIFF, BRIAN SMITH
                                        INDIVIDUALLY AND ON BEHALF
                                        OF ALL OTHERS SIMILARLY SITUATED

                                        /s/ Brian T. Henebry
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                                        LIFEVANTAGE CORPORATION, DARREN
                                        JENSON, JUSTIN ROSE, and RYAN
                                        GOODWIN

                                        /s/ John M. Doroghazi
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2018, a copy of the foregoing Stipulation was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                               /s/ Brian T. Henebry
                                                               Brian T. Henebry (ct10002)




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